        Case 1:17-mc-00160-GMSUNITED
                                Document  1-4BANKRUPTCY
                                     STATES    Filed 06/29/17
                                                         COURTPage 1 of 2 PageID #: 114
                                               DISTRICT OF DELAWARE

                                            APPEAL TRANSMITTAL SHEET

Case Number:    15-51898                               BK      AP

If AP, related BK case number:   13-13087
Title of Order Appealed: Memorandum and Order Granting In Part, Denying In Part Motion to Dismiss Adversary
                         Proceeding




Docket #:   39, 40                     Date Entered:   6/13/17
Item Transmitted:

 ✔     Notice of Appeal    Inerlocutory            Docket #:     46            Date )LOed:       6/29/17

       Amended Notice of Appeal                    Docket #:                   Date )LOed:

       Cross Appeal                                Docket #:                   Date )LOed:

 ✔     Motion for Leave to Appeal                  Docket #:     44            Date )LOed:       6/27/17

       ReTXHVWIRU&HUWLILFDWLRQRI'LUHFW$SSHDO Docket #:                   Date )LOed:

Appellant/Cross Appellant:                                             Appellee/Cross Appellee

Bayerische Motoren Werke Aktiengesellschaft                           Emerald Capital Advisors Corp.




Counsel for Appellant/Cross Appellant:                                 Counsel for Appellee/Cross Appellee:

Colm F. Connolly                                                      Mark Minuti
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Wilmington, DE 19801                                                  Wilmington, DE 19899

 Filing fee paid?                                                           Yes          No

 IFP application filed by applicant?                                        Yes          No

 Have additional appeals of the same order been filed?                      Yes          No

 *If Yes, has District Court assigned a Civil Action Number?                Yes          No
 Civil Action Number:




(continued on next page)
       Case 1:17-mc-00160-GMS Document 1-4 Filed 06/29/17 Page 2 of 2 PageID #: 115
Notes:  Transmission is for the purpose of transmitting only the Motion/Leave to Appeal and any
        related filings. A miscellaneous number should be assigned rather than a civil action
        number. A civil action number will only be assigned if/when the Motion for Leave is
        granted. We have included a copy of the Notice of Interlocutory Appeal as a courtesy.
        If/when any responses are filed to the Motion for Leave, an additional transmittal sheet
        will be processed at that time for the response which will make note of the miscellaneous
        case number assigned by District Court. An email will be sent under separate cover

           (*Notice of interlocutory appeal at de#46 amends previously filed notice at de#42*)


 I hereby certify that all designated items are available electronically through CM/ECF.

                                               Sara Hughes
 Date:   6/28/17                       by:_____________________________________
                                                    Deputy Clerk

 Bankruptcy Court Appeal (BAP) Number:   n/a
